     Case 1:21-cv-00089-AW-GRJ Document 21 Filed 12/06/21 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

ROBERT ROGERS,
      Plaintiff,
v.                                              Case No. 1:21-cv-89-AW-GRJ
DELI MANAGEMENT, INC.,
d/b/a JASON’S DELI,
     Defendant.
_______________________________/
                                JUDGMENT

      Judgment is entered in favor of Plaintiff, ROBERT ROGERS, and against the

Defendant, DELI MANAGEMENT, INC. d/b/a JASON’S DELI, in the amount of

$7,500.00.

                                            JESSICA J. LYUBLANOVITS
                                            CLERK OF COURT


December 6, 2021                            áB g|TÇÇ fàtÜ~
Date                                        Deputy Clerk: TiAnn Stark
